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               IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS


PRESIDENT AND FELLOWS OF
HARVARD COLLEGE and
MASSACHUSETTS INSTITUTE OF
TECHNOLOGY,
                                        Civil Action No. 20-cv-11283-ADB
          Plaintiffs,

vs.

UNITED STATES DEPARTMENT OF
HOMELAND SECURITY, et al.,              LEAVE TO FILE GRANTED
                                        ON JULY 10, 2020 [Dkt. 32]
          Defendants.




  AMICUS CURIAE BRIEF OF THE PRESIDENTS’ ALLIANCE ON HIGHER
           EDUCATION AND IMMIGRATION REPRESENTING
  180 HIGHER EDUCATION INSTITUTIONS IN SUPPORT OF PLAINTIFFS’
          MOTION FOR A TEMPORARY RESTRAINING ORDER
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                          STATEMENT OF AMICUS CURIAE

       The Presidents’ Alliance on Higher Education and Immigration files this brief on

behalf of 180 of its members deeply concerned with—and impacted by—Immigration

and Customs Enforcement’s (ICE) July 6 directive. These members specifically include:

•   Adelphi University        •   California State          •   California State
•   Adler University              Polytechnic                   University, San
                                  University Pomona             Bernardino
•   Agnes Scott College
                              •   California State          •   California State
•   Arizona State                 University                    University,
    University                                                  Stanislaus
                              •   California State
•   Augsburg University           University                •   Calvin University
•   Augustana College             Northridge                •   Carleton College
•   Austin Community          •   California State          •   Central Washington
    College District              University San                University
•   Bates College                 Marcos
                                                            •   Chapman University
•   Beloit College            •   California State
                                  University,               •   Charles R. Drew
•   Bennington College                                          University of
                                  Bakersfield
•   Bentley University                                          Medicine and Science
                              •   California State
•   Berkshire                     University, Chico         •   Christian Brothers
    Community College                                           University
                              •   California State
•   Boston Architectural          University, East Bay      •   Claremont Graduate
    College                                                     University
                              •   California State
•   Boston University             University, Fresno        •   Claremont McKenna
                                                                College
•   Bowdoin College           •   California State
                                                            •   Clark University
•   Bryn Mawr College             University, Fullerton
                              •                             •   Colby-Sawyer College
•   Butler University             California State
                                  University, Los           •   College of the Holy
•   Cal State Long Beach
                                  Angeles                       Cross
•   California Institute of
                              •   California State          •   Colorado College
    Integral Studies
                                  University, Monterey      •   Colorado State
•   California Institute of       Bay                           University System
    the Arts
                              •   California State          •   Community Colleges
•   California Lutheran           University,                   of Spokane
    University                    Sacramento
                                                            •   Converse College
•   California Polytechnic
    State University                                        •   Cornell College



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•   Davidson College        •   Lehigh University      •   Oakland University
•   Dickinson College       •   Lenoir-Rhyne           •   Oberlin College
•   Drexel University           University             •   Oregon State
•   Eastern Michigan        •   Lewis & Clark              University
    University                  College                •   Pace University
•   Emerson College         •   Loma Linda             •   Pacific Lutheran
                                University                 University
•   Foothill-De Anza
    Community College       •   Loyola Marymount       •   Pacific Oaks College
    District                    University                 & Children's School
•   Fordham University      •   Loyola University      •   Palo Alto University
                                Chicago
•   Franklin & Marshall                                •   Pima Community
    College                 •   Macalester College         College
•   Gettysburg College      •   Manhattan College      •   Pitzer College
•   Gonzaga University      •   Manhattanville         •   Pomona College
                                College
•   Goucher College                                    •   Portland Community
                            •   Maryland Institute         College
•   Greenfield                  College of Art
    Community College                                  •   Queens University of
                            •   Mercyhurst                 Charlotte
•   Grinnell College            University
•   Guilford College                                   •   Ramapo College of
                            •   Mills College              New Jersey
•   Hamilton College        •   Minnesota State        •   Reed College
•   Harper College              University Moorhead
                                                       •   Regis University
•   Hartwick College        •   Montgomery College
                                                       •   Rhode Island School
•   Haverford College       •   Mount Holyoke              of Design
•   Heidelberg University       College
                                                       •   Rhodes College
•   Howard Community        •   MSU Denver
                                                       •   Rochester Institute of
    College                 •   New Mexico Institute       Technology
•   Illinois Institute of       of Mining &
                                Technology             •   Roosevelt University
    Technology
                            •   Northampton            •   Rose-Hulman
•   Ithaca College                                         Institute of
                                Community College
•   Kenyon College                                         Technology
                            •   Northern Essex
•   Knox College                                       •   Rutgers University-
                                Community College
•   La Sierra University                                   Newark
                            •   Northern Illinois
•   Lafayette College           University             •   San Diego State
                                                           University
•   Lake Forest College     •   Northern Virginia
                                                       •   San Jose State
•   Lawrence University         Community College
                                                           University


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•   Santa Clara             •   The College of          •   University of San
    University                  Wooster                     Francisco
•   Sarah Lawrence          •   The New School          •   University of the
    College                 •   The Ohio State              People
•   Saybrook University         University              •   University of the
•   School of Visual Arts   •   The University of           Sciences in
                                Oklahoma                    Philadelphia
•   Scripps College
                            •   Trinity University      •   University of the
•   Seattle Pacific                                         Southwest
    University              •   Trinity Washington
                                University              •   University of Utah
•   Seattle University
                            •   University of Dayton    •   Utah State
•   Seton Hall University                                   University
•   Simmons University      •   University of Denver
                                                        •   Vassar College
•   Sonoma State            •   University of La
                                Verne                   •   Virginia Wesleyan
    University                                              University
•   Springfield College     •   University of
                                Maryland Baltimore      •   Wabash College
•   St. Catherine                                       •   Wake Forest
    University              •   University of Miami
                                                            University
•   St. Edward's            •   University of
                                Michigan - Dearborn     •   Warren Wilson
    University                                              College
•   St. John's University   •   University of
                                Michigan-Flint          •   Washington and Lee
    NY                                                      University
•   St. Lawrence            •   University of Nevada,
                                Las Vegas               •   Wayne State
    University                                              University
•   State Center            •   University of New
                                Hampshire               •   Weber State
    Community College                                       University
    District                •   University of North
                                Texas                   •   Western Oregon
•   Stevens Institute of                                    University
    Technology              •   University of Oregon
                                                        •   Western Washington
•   TCS Education           •   University of Puget         University
    System                      Sound
                                                        •   Wheaton College
•   The Chicago School of   •   University of San           (Massachusetts)
    Professional                Diego
    Psychology                                          •   Whitman College




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                                  INTRODUCTION

      The Presidents’ Alliance on Higher Education and Immigration files this amicus

curiae brief on behalf of 180 of its members. These institutions represent a diverse

array of small and large, public and private institutions throughout the nation. They

are each dedicated to bettering the lives of their students and communities, including

during the current COVID-19 global pandemic. Though diverse in faith, academic

mission, geography, and size, these institutions are deeply concerned with and

impacted by ICE’s July 6 directive.

      Higher education institutions have tackled countless challenges to continue

delivering the high-quality education their students deserve while protecting their

students, faculty, and staff in the midst of a global pandemic. Almost on a dime,

America’s institutions moved students out of physical classrooms and into virtual ones,

adjusting to the realities of education socially distanced. From early on, ICE recognized

the problem facing F-1 visa holders and, in March 2020, advised institutions and

students that “for the duration of the emergency,” F-1 visa holders could attend classes

remotely and retain their visa status.

      Institutions and students alike took ICE at its word. Over the next four months,

higher education institutions invested substantial resources in planning for the 2020

academic year. They created task forces, consulted with experts, surveyed students,

faculty, and staff, hosted town halls, and, at the end of the day, devised the very best

solution they could given their particular institutions’ circumstances. Some decided to

instruct entirely online; others carefully crafted hybrid models to allow some virtual

and some in-person instruction; and yet others decided to conduct entirely in-person

instruction with a contingency plan for online instruction if circumstances deteriorated.



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What is abundantly clear is that the right response for the nation’s largest public

university system in California is different from the right response for a private liberal

arts college in Pennsylvania or a downtown public university with commuter students.

Yet all of these institutions’ plans were made with ICE’s policy in mind—that

international students could retain their visa status regardless the ultimate

instructional format. F-1 visa holders relied on ICE’s word too; they paid tuition, signed

leases, and readied themselves for the upcoming academic year, whether it be in-

person or virtual instruction.

       The Covid-19 emergency no doubt continues. Recent data indicates that there

are more new infections at present on a daily basis than in March1—when ICE stated

that its guidance would last “for the duration of the emergency.”

       But, on July 6, ICE blindsided the whole of higher education, substantially

reversing course from the March 2020 guidance. Now, even though the emergency is as

pressing as ever, ICE would mandate that F-1 visa holders whose instruction would

occur only on online must leave the country. ICE’s abrupt policy change guts the

enormous reliance interests of higher education institutions and their students—all of

whom planned for the fall 2020 semester based on ICE’s earlier confirmation that its

March 2020 position would remain so long as the “emergency” continued.

       Indeed, America’s higher education institutions planned their 2020 academic

year in a way that, in each institution’s judgment, struck the optimal balance for

continuing to educate students while keeping everyone safe. ICE cannot, consistent

with the Administrative Procedures Act (APA), simply cast aside its prior judgment



1
    Will Feuer, U.S. Reports Record Single-Day Spike of 63,200 New Cases of Coronavirus, CNBC.com
(July 10, 2020), https://perma.cc/PT9Y-K3BH.


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after it engendered such substantial reliance by institutions and their students.

Accordingly, the Presidents’ Alliance and the universities it represents support the

Plaintiffs’ request that the Court temporarily restrain and, ultimately, permanently

enjoin Defendants from enforcing the July 6 directive.

                                          ARGUMENT

I.     HIGHER EDUCATION INSTITUTIONS RELIED HEAVILY ON THE
       GOVERNMENT’S FLEXIBILITY IN PLANNING FOR THE 2020
       ACADEMIC YEAR IN LIGHT OF COVID-19.

       A.      Higher education institutions invested substantial resources in
               planning their response to COVID-19 in reliance on the
               government’s flexibility.

       The details of each higher education institutions’ plans2 for the 2020 academic

year are as unique as the institution and custom-tailored to respond to the particular

challenges each institution faces.3

       1. The California State University (CSU) system, the largest and most

ethnically and economically diverse four-year higher education system in the country,

announced on May 12, 2020, that it intended to pursue a primarily virtual fall 2020.

With 23 campuses and 482,000 students to coordinate in the CSU system, a decision

had to be made as soon as possible to allow sufficient time to implement the plan. After

consulting with academic researchers and public health experts who predicted seasonal

waves of coronavirus through early 2021, CSU decision makers thought “‘it would be

irresponsible’ to postpone a decision on in-person classes until summer, only to be




2
   Below, the Presidents’ Alliance on Higher Education and Immigration provides information that has
been directly reported to it by members who have asked to be identified as supporting this submission.
3
   See Here’s a List of Colleges’ Plans for Reopening in the Fall, The Chronicle of Higher Education
(Apr. 23, 2020, updated July 9, 2020), https://perma.cc/BXP2-26YJ.


                                                  3
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forced to retreat hastily to remote learning in the fall.”4 Thus, because of its size, the

CSU system had to sacrifice flexibility for certainty.

       Over the summer, the CSU system has engaged in ongoing, data-driven

planning; consultation with university stakeholders; and additional training and

professional development to ensure its faculty and staff can deliver a rich educational

experience through virtual instruction. The CSU system has also given individual

campuses responsibility for evaluating reopening policies and to determine appropriate

exceptions for in-person learning experiences, e.g., science laboratory classes, senior

capstone projects, clinical nursing experiences, or studio time for performing and visual

arts students, to the extent that such experiences can satisfy rigorous safety standards.

       2. Across the country, Dickinson College, a private liberal arts college in

Carlisle, Pennsylvania, established committees, at first a general planning committee

to address health, safety, and liability risks and an academic planning committee to

develop protocols to maintain the school’s academic rigor and integrity, and later, an

emergency management committee. Approximately 75 people are actively involved in

planning on a weekly, if not daily, basis. The committees have been hard at work since

March, hosting at least five virtual town halls, countless brainstorming session, and

conducting surveys of students, faculty, and staff. For Dickinson, a traditionally 100%

residential learning environment, shifting to a remote-learning environment involves

massive transformation; the decisions around whether and how to return to its

residential learning model involve careful planning. All told, this complex effort has

cost an estimated $2 million to ready the campus for the fall semester.



4
   Shawn Hubler, Fearing a Second Wave, Cal State Will Keep Classes Online in the Fall (Mar. 12,
2020), https://perma.cc/DJ3B-NS5K.


                                               4
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      3. Metropolitan State University of Denver (MSU Denver), a public university

in downtown Denver, created a task force as soon as leadership realized the virus

would impact the United States and well before any cases reached its community in

March 2020. MSU Denver’s task force met with internal and external stakeholders to

evaluate different responses well before it became apparent the campus would have to

shut down in-person instruction. MSU Denver’s response focused first on supporting

students through the transition to online instruction and then shifted focus to planning

for the 2020 academic year’s safe and gradual return to campus.

      As a commuter campus serving many nontraditional students, MSU Denver had

to plan for the complexity of students living in multiple urban jurisdictions and relying

on public transportation. Many students also face uncertain family obligations to their

parents, their own children, or extended family members. Through many hours of work

and incurring of significant expenses, MSU Denver developed a mixed approach to

classes that could accommodate some in-person courses with added online offerings.

      4. The University of Utah likewise invested substantial resources in planning

for the 2020 academic year. The University engaged with leaders at the State, system,

and university levels and captured input from administrators, health care experts,

deans, department chairs, faculty, student-government bodies, trustees, alumni, and

donors. The school surveyed faculty and students, hosted town halls, dean meetings,

academic leadership meetings, and working groups, consulted with athletic conference

peers, engaged with national advising groups, and worked with state government.

      As with fellow institutions, the University of Utah had to address complexities

unique to its campus. Missionaries returning from abroad faced tight timeframes to

decide whether to enroll in university or redeploy. The US vice presidential debate is



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also scheduled to occur on campus in October 2020, necessitating a plan for online

instruction during that week for courses that would otherwise have been in person.

      5. The Stevens Institute of Technology, a private research university in

Hoboken, New Jersey, also faced its own set of challenges; international students make

up one-third of its total student body and 61% of its graduate student body. The

Stevens Institute started planning in March 2020 with an effort centralized in the

President’s Cabinet, which worked closely with the Board of Trustees, President’s

Leadership Council, faculty governance bodies, academic divisions, and departments.

The Stevens Institute gathered data through surveys, town halls, brainstorming

sessions, expert assessments, and consulting with external bodies and groups with

interest in the university. For the Stevens Institute, addressing the complexities facing

its international students is critical; with such a large volume of international

students, inability to continue educating these students would be devastating.

      These members are not alone. Numerous Presidents’ Alliance members shared

the complex, comprehensive processes they employed to ensure a safe and effective

2020 academic year. These institutions have undertaken these efforts at considerable

expense. E.g., Augsburg University (estimated $1.7 million in incurred costs); Beloit

College (estimated $15 million financial burden); California Institute of the Arts

(estimated $5 million in additional expenses for fall); Central Washington University

(facing extensive financial burden); Colorado State University system (estimated $35

million future financial burden); Emerson College (millions invested in its response);

Haverford College (incurred expenses of $5–10 million); Mount Holyoke College

(estimated $2.5 million financial burden); Northern Illinois University (estimated

incurred costs of $45 million); Northern Virginia Community College (facing potential



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loss of $9.9 million in tuition from F-1 students); Pace University (millions of dollars in

losses); Rutgers-University Newark (provided $10 million in emergency support to

students); Trinity Washington University ($1 million in costs); Trinity University

(significant amounts invested).

      B.     Higher education institutions relied on the continuing
             contributions of international students to their campuses.

      It is beyond cavil that international students make immense contributions to

campuses nationwide. These students foster the diversity integral to every student’s

education, enhance schools’ intellectual competitiveness, contribute to schools’ athletic

and other co-curricular and extracurricular programs, and economically benefit their

schools and neighboring communities.

      1. The Supreme Court has repeatedly acknowledged “the educational benefits

that flow from student body diversity.” Fisher v. Univ. of Tex. at Austin, 570 U.S.297,

310 (2013) (quoting Grutter v. Bollinger, 539 U.S. 306, 330 (2003)). The Court has

observed that a diverse student body “promotes ‘cross-racial understanding,’ helps to

break down racial stereotypes, and ‘enables [students] to better understand persons of

different races.’” Grutter, 539 U.S. at 330 (citation omitted). Such benefits translate

into educational benefits too, as “numerous studies show that student body diversity

promotes learning outcomes, and better prepares students for an increasingly diverse

workforce and society, and better prepares them as professionals.” Id. at 330 (citation

omitted). Indeed, “major American businesses have made clear that the skills needed

in today’s increasingly global marketplace can only be developed through exposure to

widely diverse people, cultures, ideas, and viewpoints.” Id.

      These observations apply with equal force to the value international students




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add to campuses. As Pace University President Marvin Krislov has described, learning

alongside international students provides substantial benefits to campuses and fellow

students. Doing so fosters a “better understanding of international issues, foreign

affairs, and immigration issues”; “provides opportunities for unique cross-cultural

experiences”; and “forces students to confront different interpersonal and

communication styles, which makes them better active listeners and critical thinkers.”5

       2. International       students     also    contribute     to   a   school’s    intellectual

competitiveness. United States colleges no doubt compete to attract top talent that are

the right fit for their institution. Succeeding at this endeavor begets future success and

also benefits the institution in other ways. For example, studies have found that a 10%

increase in an institution’s international graduate students correlates with a 4.5%

increase in patent applications.6 These striking figures illustrate that international

students are a vital component in a university’s research function.

       American institutions also must compete against institutions across the globe.

Success in the global market for international students also benefits the US education

system generally. Desire for a US education has long marked the United States as a

world leader in education. Attracting top students to study in our nation’s institutions

has long helped foster international cooperation, grown our knowledge economy, and

fueled innovation.7 But global competition for these students has only intensified.8 For

the fall 2019 academic year, institutions cited global competition for the first time as

5
   Marvin Krislov, Why International Students Are Good for Colleges, Universities and America, Forbes
(Mar. 22, 2019), https://perma.cc/4CGT-FTJJ.
6
   Niall Hagerty, Where We Are Now: The Presence and Importance of International Students to
Universities in the United States, 4 J. of Int’l Students 223, 226–27 (2014).
7
   See, e.g., NAFSA, Restoring U.S. Competitiveness for International Students and Scholars 3 (June
2006), https://perma.cc/87TC-87N3; NAFSA, Losing Talent 2020: An Economic and Foreign Policy Risk
America Can’t Ignore (Mar. 2020), https://perma.cc/Y4GH-7KQZ.
8
   Hagerty, supra note 6, at 229–30.


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among the top two reasons for institutions’ declining international enrollment (the first

being visa concerns).9 The global education market will continue on, with international

students remaining integral components of any academic institution. The question is

whether these students will pursue their education in the United States, where

America can reap the benefits—or whether they will attend overseas, to the advantage

of foreign nations.10

       3. International students also make substantial economic contributions to their

schools and their greater communities. International students pay tuition.11 And they

contribute more broadly to the American economy. A leading estimate indicates that

international students contributed $41 billion and supported 458,290 jobs during the

2018–2019 academic year.12 Here in Massachusetts, international students contributed

$3.2 billion to the Commonwealth’s economy and supported 38,799 jobs in the same

period.13 Indeed, NAFSA estimates that for every seven international students, three

U.S. jobs are created from spending in higher education, accommodations, dining,

retail, transportation, telecommunications, and health insurance.14

       The July 6 directive would have devastating practical consequences. To

underscore the source of these losses, using Census data, Professor Tom K. Wong of the

9
     See Jodi Sanger & Julie Baer, Fall 2019 International Student Enrollment Snapshot Survey,
Institute for International Education 6 (Nov. 2019), https://perma.cc/8XWC-B22B.
10
     See, e.g., NAFSA, Losing Talent, supra note 7(detailing the achievements of six international
students with US educations, including an award-winning computer scientist, NASA engineer, female
seaplane captain, nonprofit founder, a 35-under-35 innovator, and executive director of a nonprofit).
11
     Hagerty, supra note 6, at 225–26; Max Larkin, “I Couldn’t Believe My Eyes”: International Students
Blindsided by ICE Rule Change, NPR (July 8, 2020), https://perma.cc/QE84-EEEN; Miriam Jordan, et
al., Trump Visa Rules Seen as Way to Pressure Colleges on Reopening, New York Times (July 7, 2020),
https://perma.cc/9SVV-7W8P.
12
     NAFSA, NAFSA International Student Economic Value Tool: National (visited July 10, 2020),
https://perma.cc/2VBB-Z5FM.
13
     NAFSA, Massachusetts Benefits from International Students (visited July 9, 2020),
https://perma.cc/P3KC-QC2K.
14
     Id.


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U.S. Immigration Policy Center estimates the losses that would be caused by the July 6

directive. This data demonstrates that upwards of 576,087 international students

(261,118 undergraduate and 314,969 graduate students) have completed only one year

of their degree and may now be unable to complete the remaining years.15 Of these, at

least 46,936 are enrolled in medical, health, and science fields essential to battling the

COVID-19 pandemic.

       The July 6 directive would impose dire consequences—academic, social, and

economic, among others—on higher education institutions across the country. It must

be swiftly enjoined.

       C.      Higher education institutions relied on continued ability to
               educate international students.

       These institutions developed their 2020 academic year plans with great care,

and at considerable expense, each calling on its expertise, experience, and considered

judgment to strike an optimal balance for the school and its students. These

institutions relied on ICE’s March 2020 directive that schools would retain flexibility to

tailor their responses and that online-learning requirements would be relaxed “for the

duration of the emergency.” See March 13 Guidance, Dkt. 6-2.

       This is especially so for international students who decided to remain on campus

or had remained in the United States following the outbreak of the crisis.16 Institutions

fully expected such students to return for the 2020 academic year on the same terms as

any other student. Indeed, ensuring international students’ continued enrollment and

participation is of central importance to all these institutions.


15
   See Presidents’ Alliance on Higher Education and Immigration, International Students Affected by
ICE COVID-19 Guidance for Fall 2020 (July 10, 2020), https://bit.ly/3ehEJfo.
16
   See, e.g., Andrea Adelson, Abrupt Shutdown Leaves NCAA’s International Student-Athletes with
Limited Choices, ESPN (Apr. 10, 2020), https://perma.cc/B43X-DUL9.


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       But, on July 6, ICE blindsided schools and students with a directive that came

far too late. Institutions had already invested substantial resources, polled their

students, faculty, and staff, consulted experts, gathered data, and carefully considered

(and, for many, finally decided) how to proceed. Unsurprisingly, some schools decided

to proceed with instruction; others to instruct entirely online; and yet others carefully

tailored hybrid models to allow some courses in particular need of in-person instruction

to be conducted. Yet all recognized a need for flexibility for individuals and also as

COVID-19 circumstances change.

       Nonetheless, for those international students who had stayed on campus or in

the United States, waiting out the summer so they could restart school, ICE demanded

that these students either leave the country or transfer schools unless they would

receive in-person instruction. This, despite some institutions’ announced plans to

conduct instruction entirely online and others’ plans that would not offer in-person

instruction for the particular courses the student needed. It also interferes with plans

to let students choose for themselves whether to attend in person. And it even upended

plans for institutions intending for in-person instruction with contingency plans for

online-only instruction should local COVID-19 circumstances abruptly change.17

       The Court should grant temporary injunctive relief so that all of these very

substantial reliance interests are not instantly gutted. Schools must have certainty

that the status quo will continue—or, at the very least, that there is a considered,

orderly process whereby institutions may design their policies and curriculum. The

July 6 directive must be immediately enjoined.



17
   See, e.g., Letter from President Will Dudley to W&L Students, Faculty and Staff, Washington & Lee
University (July 9, 2020), https://perma.cc/P8Y9-KQCE.


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II.    INTERNATIONAL STUDENTS RELIED HEAVILY ON THEIR
       INSTITUTIONS’ PLANNING FOR THE 2020 ACADEMIC YEAR.

       International students too relied on their institutions’ reopening plans and the

government’s stated policy of giving schools the flexibility to address the complexities

inherent in educating students during a global pandemic without jeopardizing

students’ F-1 visas or presence in the United States.

       Relying on their continued ability to study in the United States, international

students remained in the United States,18 paid tuition,19 and signed leases.20 They

prepared for research in campus labs.21 They ensured their own personal safety under

flexible school policies, like the student from India with asthma whose university

decided to give students the option to participate in-classroom or online.22

       And they avoided planning for the challenges they might face if forced to return

to their home countries. Some of these challenges are logistical, like the absence of any

flights home.23 Others are life-threatening, like the substantial civil unrest in

Venezuela.24 Some challenges threaten to eliminate access to education entirely, like

loss of critical scholarships25 or lack of access to reliable electricity or internet

connection for online learning.26 Others make benefitting from their promised US

education extremely difficult, like trying to attend a synchronous online course


18
    Adelson, supra note 16.
19
    Jordan, supra note 11.
20
    Larkin, supra note 11; Jordan, supra note 11.
21
    Larkin, supra note 11.
22
    Id.
23
    Michael Elsen-Rooney, “Panic and Chaos”: NYC International Students, Colleges React to new ICE
Rule on Remote Learning, New York Daily News (July 7, 2020), https://perma.cc/8MRC-XGNX.
24
    Id.
25
    Id.
26
    Sammy Westfall, “Xenophobic Harassment”: International Students React to the US’ New Visa Rule,
Vice (July 8, 2020), https://perma.cc/7J29-SNXY.


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occurring in Boston at 4 p.m. at 3 a.m. in Vietnam,27 or missing out on campus research

opportunities, extracurricular activities, or socially distanced social activities. Some are

patently absurd, like forcing a student who has lived most of her life in the US with her

family to return to a country she left as a child.28

III.    ICE’S GUIDANCE IGNORES THE SUBSTANTIAL RELIANCE
        INTERESTS OF HIGHER EDUCATION INSTITUTIONS AND THEIR
        INTERNATIONAL STUDENTS.

        As explained above, higher education institutions and their international

students relied considerably on the government’s grant of flexibility to schools to strike

the optimal balance between satisfying educational objectives while protecting the

health of students, faculty, and staff and complying with state and local laws. But

ICE’s Guidance on its face appears to ignore school and student reliance on the

flexibility that ICE professed in March 2020 would last “for the duration of the

[COVID-19] emergency.” March 13 Guidance.

        The July 6 directive on its face violates the APA, as Plaintiffs have explained

(Compl., Dkt. 1; Mem. ISO Mot. for TRO, Dkt. 5 at 9–15). Its text and timing confirm

that the government “entirely fail[ed] to consider … important aspect[s] of the problem”

(Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29,

43 (1983)) and failed to provide a reasoned explanation for its decision (Dep’t of

Commerce v. New York, 139 S. Ct. 2551, 2569 (2019)).

        Indeed, these APA mandates apply with additional force where, as here, an

agency changes course. See FCC v. Fox Television Stations, 556 U.S. 502, 514–16

(2009). An agency must offer an even “more detailed justification” when “[1] its new



27
     Larkin, supra note 11.
28
     Jordan, supra note 11.


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policy rests upon factual findings that contradict those which underlay its prior policy;

or [2] when its policy has engendered serious reliance interests that must be taken into

account.” Id. at 515. In such circumstances, the Supreme Court holds, it is arbitrary

and capricious to “ignore” or “disregard” such matters. Id.; see also Dep’t of Homeland

Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1913 (2020) (“When an

agency changes course, as DHS did here, it must ‘be cognizant that longstanding

policies may have engendered serious reliance interests that must be taken into

account.’” (quoting Encino Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2126 (2016))).

       Both circumstances apply here, and both were ignored or disregarded.

       First, the March 13 Guidance professed that its policy was “for the duration of

the emergency.” All seem to agree the emergency remains ongoing,29 but ICE’s policy

has inexplicably changed.

       Second, for the reasons the institutions have outlined at length above, ICE’s

March 13 policy engendered serious reliance interests that must be taken into account.

Nothing in the July 6 directive evidences any consideration for the complex,

comprehensive, and expensive processes institutions employed to reach decisions on

how to proceed with the 2020 academic year. And nothing in the July 6 directive

evidences any consideration for international students’ reliance on the March 13

guidance and their schools’ judgment. Rote disregard for institutions’ and international

students’ reliance interests is by definition arbitrary and capricious. FCC, 556 U.S. at

515; Dep’t of Homeland Sec., 140 S. Ct. at 1913.




29
   See Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak, Proclamation 9994, 85 Fed. Reg. 15337 (Mar. 13, 2020); General Order 20-2, In re:
Coronavirus Public Emergency (D. Mass. Mar. 12, 2020).


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                                  CONCLUSION

      For the reasons stated above and in Plaintiffs’ motion, the Court should enjoin

Defendants from enforcing the July 6 directive temporarily and, ultimately,

permanently.

Dated: July 10, 2020                     Respectfully submitted,

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